Case 2:04-CV-02861-SHI\/|-tmp Document 16 Filed 08/23/05 Page 1 of 2 Page|D 23

IN THE UNITED STATES DISTRICT COURT ‘ l
FoR THE wEsTERN DISTRICT 0F TENNESSEE 05 AUG 23 ph 3, 18

WESTERN DIVISION
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MARTHA LIGGINS,
Plaintiff,
No. 04-2861 Ma/P

v¢

RICH' S PRODUCTS CORP . ,

Defendants.

 

ORDER TO SHOW CAUSE

 

Before the court is the motion to dismiss of Defendant Rioh’s

Products Corp., filed February 22, 2005. Plaintiff Martha Liggins
has not responded, and time for response has passed. Plaintiff is
hereby ordered to show cause within ten (10) days of the entry of

this order why Defendant's motion to dismiss should not be granted.

so ORDERED this ‘l?-F\aay of August, 2005.

JA///L

 

SAMUEL H. M.AYS, JR
UNITED STA'I‘ES DIS'I'RIC‘T JUDGE

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Notice of Distribution

This notice confirms a copy of the document docketed as number 16 in
case 2:04-CV-02861 Was distributed by faX, mail, or direct printing on
August 26, 2005 to the parties listed.

 

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Honorable Samuel Mays
US DISTRICT COURT

